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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

YOSEMITE SECURITIES TRUST I, YOSEMITE
SECURITIES COMPANY LTD., ENRON CREDIT :

LINKED NOTES TRUST, ENRON CREDIT :

LINKED NOTES TRUST H, ENRON EURO

CREDIT LINKED NOTES TRUST, and ENRON

STERLING CREDIT LINKED NOTES TRUST, -

each by THE BANK OF NEW YORK, as Indenture 1

Trustee and Collateral Agent; AG ARB 1 CaS€ NO- 04 CV 7301 (DC) (KNF)
PARTNERS, L.P.; AG CAPITAL FUNDING `

PARTNERS, L.P.; AG CAPITAL RECOVERY .

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PARTNER II, L.P.; AG CAPITAL RECOVERY f

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FUND, L.P.; AG SUPER FUND '

INTERNATIONAL PARTNERS, L.P.;

APPALOOSA INVESTMENT L.P. I;

COMMONFUND EVENT-DRIVEN COMPANY;

DAVIDSON KEMPNER INTERNATIONAL, .

LTD.; DAVIDSON KEMPNER INSTITUTIONAL f

PARTNERS, L.P.; DAVIDSON KEMPNER '

PARTNERS; ELLIOTT INTERNATIONAL, L.P.;

GAM ARBITRAGE INVESTMENTS INC.; THE

LIVERPOOL LU\/HTED PARTNERSH[P; M.H. -

DAVIDSON & CO.; NUTMEG PARTNERS, L.P.; 1

PALOMINO FUND LTD.; PHS BAY COLONY

FUND, L.P.; and SERENA LIMITED;

Plaintiffs,
v.

CITIBANK, N.A.; CITIGROUP, INC.; and DELTA 2
ENERGY CORPORATION, '

Defendants.

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YOSEMITE SECURITIES TRUST I, YOSEMITE .
SECURITIES COMPANY LTD., ENRON CREDIT :
LINKED NOTES TRUST, ENRON CREDIT
LINKED NOTES TRUST II, ENRON EURO
CREDIT LINKED NOTES TRUST, and ENRON
STERLING CREDIT LINKED NOTES TRUST,

Nominal Defendants as to
Fraudulent Conveyance
Claims

 

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Introduction

This motion presents an issue that is both straightforward and commonplace in
removal jurisdiction: If a defendant contends that it has a potential indemnification claim against
an entity in bankruptcy, is the entire action then removable to federal court based on "related to"
bankruptcy jurisdiction'? Here Defendants contend that this action is "related to" the Enron
bankruptcy because, if they are ultimately liable to plaintiffs, they may have an indemnification
claim against Enron.

The answer is that this is not enough. Numerous cases in the Second Circuit and
elsewhere have held either that a contingent indemnification 6laim does not support federal
jurisdiction at all, or that cases removed on such grounds should be equitably remanded Only
last month, this Court equitably remanded a case noting prior holdings that

if defendants "acquire an indemnification claim, [they] can assert it

in the bankruptcy case," and jurisdiction should not be retained on

that basis.

Dz'gital Satellz'te Lenders LLC v. Ferchill, 2004 WL 1794502 at *6 (S.D.N.Y. August 10, 2004).
Defendants' purpose--as they have candidly acknowledged elsewherel--is to slow

this case down by miring it in the massive multi-district litigation arising from the bankruptcy of

 

l In another removed action, Defendants admitted they were using "the bankruptcy
jurisdiction provisions . . . in an attempt to get the case to Texas" rather than out of any desire to
be heard in the New York Bankruptcy Court handling Enron's estate. See Retirement Systems of
Alabama v. Merrl'll Lynch & Co., 209 F. Supp. 2d 1257, 1268-69 (M.D. Ala. 2002).

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Enron Corporation ("Enron"), currently pending before the Southern District of Texas.2 But this
action involves only New York state law claims arising from New York transactions Enron is
not a party to this action. And, as explained below, this action will have no effect on the
administration of the Enron estate. The Court should therefore remand it to state court.
Plaintiffs move for remand on three grounds. First, contrary to Defendants'
argument in their removal petition, this action is not "related to" a bankruptcy case within the
meaning of 28 U.S.C. § l334(b). Second, even if this Court were to rule that this action is
"related to" a bankruptcy case Within the meaning of 28 U.S.C. § l334(b), it should abstain from
exercising federal jurisdiction over this action pursuant to the permissive abstention provisions of
28 U.S.C. §§ 1334(0)(1) and 1452(b). Third, if the Court were to rule that this action is "related
to" a bankruptcy case within the meaning of 28 U.S.C. § 1334(b), this Court must nevertheless
remand this action to state court pursuant to the mandatory abstention provision of 28 U.S.C.
§ 1334(c).
Statement 01` Facts

l. On August 23, 2004, Plaintiffs commenced this action by filing their Original
Petition in the New York State Supreme Couit.3

2. This action arises from a massive scheme of deception designed and orchestrated

by defendant Citibank, N.A. and its parent and affiliated entities (referred to collectively herein

as "Citibank"). Through this scheme Citibank raised billions of dollars from Plaintiff Trusts, in

 

2 Defendants made a filing With the MDL panel requesting transfer of this action to
Texas, and consolidation with MDL 1446, immediately after removal to this Court.

3 A copy of Plaintiffs' Complaint ("Complaint") is attached to Defendants' Notice of
Removal as Exhibit A.

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pertinent part, to mitigate Citibank's own Enron credit risk. The Trusts seek recovery against
Citibank and related entities on various tort and contract theories, including fraud. Because the
transactions entered into between Citibank and the trusts Were not for fair value and rendered the
trusts insolvent, the trusts' creditors also bring fraudulent transfer claims. No claims are asserted
by or against Enron in this action.

3. By August 24, 2004, Citibank had been served with process in this action.

4. On September 13, 2004, Citibank removed this action from state court to this
Court on the basis that the action is "related to" the Enron bankruptcy pending in this district.
See Notice of Removal. Citibank also immediately sought transfer of this action to the Southerh
District of Texas, seeking to consolidate it With MDL 1446. See Notice of Potential Tag-Along
Action, filed September 14, 2004 in MDL 1446, attached to this Motion as Exhibit A.
Deposition discovery in MDL 1446 has already been underway (at the pace of up to five
depositions per day) for months and trials in MDL 1446 are set to begin in October of 2006. See
March ll, 2004 Scheduling Order (#2019 in MDL 1446).

5. There is no diversity jurisdiction in this action, and there is no federal question
jurisdiction See generally Plaintiffs' Complaint; Notice of Removal (not alleging diversity or
federal question jurisdiction).

6. Citibank proposes only one basis for federal jurisdiction of this action: "related to"
bankruptcy jurisdiction under 28 U.S.C. §§ 1334(b). See id. 11 30. Section 1334(b) provides in
relevant part that "the district courts shall have original but not exclusive jurisdiction of all civil

proceedings arising under title 11, or arising in or related to cases under title ll." 28 U.S.C.

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§ 1334(b) (emphasis added). Citibank argues that this action is "related to" the Chapter 11
proceeding of Enron Corporation, pending in this district Notice of Removal 11 30.
7. Enron is not a party to this action, and no asset of Enron's estate is a subject of this
action. As explained in detail below, this action will not have an effect on the Enron estate.
Discussion

I. This Action Is Not "Related to" Enron's Bankruptcy Case Within the Meaning of
28 U.S.C. § 1334(b).

A. Potential Indemnitv Claims Do Not Justifv a Finding of "Related To"
Jurisdiction Within the Meaning of 28 U.S.C. § 1334(b)

The Second f:ircuit test for whether an action is "related to" a bankruptcy case
within the meaning of § 1334(b) is whether the action might have "any conceivable effect" on the
bankrupt estate. In re Cuyahoga, 980 F.2d 110, 114 (2d Cir. 1992). This is the test originally
articulated by the Third Circuit in In re Pacor, 1nc., 743 F.2d 984 (3d Cir. 1984), cited
approvingly in Cuyahoga. Although broadly phrased, this test is applied in a manner consistent
with the Supreme Court's caution that "'related to' jurisdiction cannot be limitless." Celotex Corp.
v Ea'wards, 514 U.S. 300, 308 (1995) (citing Pacor approvingly); see also Pacor, 743 F. 2d at
994. “‘[C]ommon sense cautions against an open-ended interpretation of the ‘related to’
language ‘in a universe where everything is related to everything else.”’ In re Fea'eral-Mogul
Global, lnc., 282 B.R. 301, 307 (Bankr. D. Del. 2002), mandamus denied, 300 F.3d 368, 382 (3d
Cir. 2002) (citation omitted).

A case will be “related to” a bankruptcy case only where “the outcome could alter
the debtor’s ri ghts, liabi1ities, options or freedom of action (either positively or negatively) and

which in any way impacts upon the handling and administration of the bankrupt estate.” Pacor,

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743 F.2d at 994; see also In re Fea'eral-Mogul, 300 F.3d at 382. The Third Circuit has also made
clear that “related to” jurisdiction cannot exist where the alleged “conceivable effect” on the
bankruptcy proceeding involves “the intervention of yet another lawsuit.” In re Fea'eral-Mogul,
300 F.3d at 382.

Defendants bear the burden of demonstrating that the federal jurisdictional
requirements for removal asserted in their Notice of Removal have been satisfied California
Publz`c Employees'Retl`rement Systems, 368 F.3d 86 (2d Cir. 2004). Even though the test for
federal jurisdiction is whether the action could impact the debtor’s estate (as opposed to mere
factual similarities), Citibank makes only one assertion as to how the outcome of this action
could conceivably affect Enron's estate.4 lt asserts that Enron "may" owe Citibank contribution
or indemnity in the event judgment is rendered in favor of Plaintiffs in this action. Notice of
Removal 11 34. This is the exact fact pattern addressed by the Third Circuit in the Pacor case, in
which the court found federal jurisdiction did not exist.

As reasoned by the court in Pacor (where Higgins and Pacor were both creditors
and Manville was the debtor):

[T]he primary action between Higgins and Pacor would have no effect on the
Manville bankruptcy estate, and therefore is not "related to" bankruptcy . . . . At
best, it is a mere precursor to the potential third party claim for indemnification by

Pacor against Manville. Yet the outcome of the Higgins-Pacor action would in no
way bind Manville, in that it could not determine any rights, liabilities, or course

 

4 Defendants argue that "common factual and legal questions" as well as the "interests of
judicial economy" support "related to" jurisdiction in this action. See Notice of Removal 11 11 33,
36. As a matter of law, however, "[s]hared facts between the third-party action and a debtor-
creditor conflict do not in and of themselves suffice to make the third-party action ‘related to' the
bankruptcy Moreover, judicial economy alone cannot justify a court's finding jurisdiction over
an otherwise unrelated suit." In re Zale, 62 F.3d 746, 753-54 (5th Cir. 1995). Accordingly, the
Court must reject these contentions as a basis for federal subject matter jurisdiction.

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of action of the debtor. Since Manville is not a party to the Higgins-Pacor action,

it could not be bound by res judicata or collateral estoppel. Even if the

Higgins-Pacor dispute is resolved in favor of Higgins (thereby keeping open the

possibility of a third party claim), Manville would still be able to relitigate any

issue, or adopt any position, in response to a subsequent claim by Pacor. Thus,

the bankruptcy estate could not be affected in any way until the Pacor-Manville

third party action is actually brought and tried.
Pacor, 743 F.2d at 995 (citations omitted); see also In re Federal-Mogul, 300 F.3d 368, 382 (3d
Cir. 2002) (rejecting “related to” jurisdiction because third party actions would have no
immediate or direct detrimental impact on the estate); Arnold v. Garlock, lnc., 278 F.3d 426, 434
(5th Cir. 2001) (Fifth Circuit applies Pacor test; "related to" jurisdiction was not triggered until a
litigant brought a direct claim against the debtor for contribution based on the prior judgment).
Thus, under Pacor, potential claims for indemnification by the debtor do not create "related to"
jurisdiction as a matter of law.

As the court stressed in 176-60 Unz'on Turnpike, Inc., v. Howard Beach Fz`tness
Center, 1nc., 209 B.R. 307, 313 (Bankr. S.D.N.Y. 1997) (emphasis in the original), “there can be
no conceivable detriment to the administration of the bankruptcy case where no claim has been
asserted ‘agaz`nst’ the bankruptcy estate” and there is therefore no “related to” bankruptcy
jurisdiction See also Retl`rement Sysle)ns of Alabania v. J.P. Morgan Chase & Co., 285 B.R.
519, 529 (Bankr. M.D. Ala. 2002) (“Where a lawsuit’s potential effect on a bankruptcy estate is
‘speculative and premature’ then such a case fails to warrant federal bankruptcy ‘related to’
jurisdiction.”).
This Court should follow Pacor, Which has been cited with approval by the

Supreme Court and the Second Circuit. Celotex, 514 U.S. at 308; Cuyahoga, 980 F.2d at 114.

The logic and policy of Pacor are sound. The rule enunciated in Fea’eral-Mogul that an action

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will not be deemed “related to” a bankruptcy if the claimed effect on the bankruptcy estate
requires the intervention of another lawsuit (here, a contingent claim by Defendants against
Enron for indemnification) is likewise a sound limiting principle Recognizing "related to"
jurisdiction in every case where there are theoretical indemnity claims \_N_ollc_l render it virtually
"limitless." ln almost every case where there is a bankruptcy case pending, it could be argued (as
Citibank argues here) that there are potential indemnity claims that might be asserted. Citibank
does not suggest it has actually sought indemnity based on these Plaintiffs' claims and there is no
evidence that such an indemnity claim, even if asserted, would have any effect on the Enron
bankruptcy estate. 7Such an imaginary or hypothetical "effect” on the estate does not meet the test
under Pacor and Cuyahoga.5 See, e.g., 176-60 Unz'on Turnpike, 1nc., 209 B.R. at 313 (a
controversy having “only [a] speculative, indirect or incidental effect on the estate’ is not ‘related
to’ the bankruptcy action”) (quoting In re Inn on the Bay, Ltd., 154 B.R. 364, 367 (Bankr. S.D.
Fla. 1993)).
B. Citibank Incorrectlv Asserts That Plaintiffs' Claims in This Case Could Be

Satisfled bv an Outcome of the Enron Bankruptcv (Thev Cannot); But

Either Wav This Assertion Does Not Support Federal Jurisdiction

Citibank mischaracterizes Plaintiffs' claims in its Notice of Removal, asserting

incorrectly that "the basis for most of Plaintiffs' claims is that the Enron claims delivered to the

 

5 A recent decision in this district took a more expansive view of the Pacor test. ln In re
Worla’Com Inc. Securities Litigation, the court rejected the specific outcome of Pacor in favor of
a broader grant of j urisdiction, requiring only that potential indemnity claims have a "reasonable
basis" in order to justify the exercise of federal jurisdiction 293 B.R. 308, 320 (S.D.N.Y. 2003);
see also In re Global Crossz'ng, 311 B.R. 345, 347 (S.D.N.Y. 2003) (relying on WorldCom in
finding "related to" jurisdiction based on potential contribution claims by officer of bankrupt
corporation). Plaintiffs respectfully submit that the Worla'Com motion was wrongly decided and
represents a departure from the Pacor test applied in the Second Circuit.

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trusts are not Qualifying Claims." Notice of Removal 11 33. Further, Citibank baselessly asserts
that "the vast bulk of Plaintiffs' claims in this case will be satisfied" if the bankruptcy court
reverses field and allows the Plaintiff Trusts to recover on Enron claims that Citibank assigned to
the Trusts. Notice of Removal 11 33. This is a serious misstatementl Nearly all Plaintiffs' claims
challenge the Trusts' original, underlying transactions with Defendants and Will not be satisfied
regardless of any outcome on the assigned Enron claims in the bankruptcy Plaintiffs sued
Citibank and its affiliates, who arranged these fraudulent transactions, in a state-law action with
principal claims of fraud and fraudulent transfer. Plaintiffs' action does not trigger "related to"
jurisdiction because, as in Pacor, it is a separate dispute among creditors of Enron that will not 7
increase or decrease the assets and liabilities in Enron's estate. Cf. In re P.D.S. Dev. Corp., 103
B.R. 93, 95 (Bankr. S.D.N.Y. 1989) (effect of substituting one creditor of the debtor for another
insufficient for "related to" jurisdiction); In re Selz`g, 135 B.R. 241, 244 (Bankr. E.D. Pa. 1992)
(dispute between creditors as to their claim against debtors not within the scope of bankruptcy
jurisdiction). Plaintiffs certainly cannot be made whole by any action of the Enron bankruptcy
judge or any payment on the Enron claims they hold.

More fundamentally the fact that the bankruptcy court’s determination of the
value of the assigned Enron claims may have some impact on the amount of damages Citibank
owes Plaintiffs iri this case does not justify the exercise of federal jurisdiction Citibank has it
backwards. The test is not whether the bankruptcy might in some way affect this case, but rather
whether this case will have an effect on the bankruptcy See In re Cuyahoga, 980 F.2d at 114. In
dealing with limited federal jurisdiction, established jurisdictional boundaries cannot be stretched

so readily Cf. U.S. ex rel. Kz'ng v. Hillcrest Health Center, Inc., 264 F.3d 1271, 1278 (10th Cir.

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2001) ("The premise of limited jurisdiction also means the Act [on which jurisdiction is based]
should not be read in a manner that impermissibly expands federal jurisdiction") (citations and
internal quotation marks omitted). Events that may increase or decrease damages in this case are
irrelevant to the test for federal j urisdiction, which is only concerned with the effects of this
action on the bankruptcy estate. As noted, the only allegation Citibank makes of such an effect is
the potential for indemnification claims by it against Enron which, as discussed above, is
insufficient as a matter of law.

II. This Court Should Remand This Case to State Court Pursuant to the Permissive
Abstention Provisions of 28 U.S._C. § 1334(c)(1) and 28 U.S.C. § 1452(b).

A. The Relevant Factors Support Abstention Under §§ 1334(c)(]) and 1452(b)

Even if this Court were to rule that this action is "related to" the Enron bankruptcy
within the meaning of 28 U.S.C. § l334(b), it should abstain from hearing this action pursuant to
the permissive abstention provisions of 28 U.S.C. §§ 1334(0)(1) and 1452(b). "When a state
court proceeding sounds in state law and bears a limited connection to a debtor’s bankruptcy case,
abstention is particularly compelling." 1n re Unz'l‘ea' Container, LLC, 284 B.R. 162 (Bankr. S.D.
Fla. 2002).

Section l334(c)(1) states that "[n]othing in this section prevents a district court in
the interest of justice or in the interest of comity with State courts or respect for State law, from
abstaining from hearing a particular proceeding arising under title 11 or arising in or related to a
case under title 11." Section l452(b) provides this Court With authority to remand this case "on
any equitable ground." The factors to be considered in deciding abstention under either provision

(the courts in this district treat the two identically) include:

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(1) the effect on the efficient administration of the bankruptcy estate;
(2) the extent to which issues of state law predominate;

(3) the difficulty or unsettled nature of the applicable state law;

(4) comity with state courts;

(5) the degree of relatedness or remoteness of the proceeding to the main bankruptcy
case;

(6) the existence of a right to trial by jury;
(7) prejudice to the involuntarily removed paities.
Digz'tal Satellize Lenclers LLC v. Ferchill, 2004 WL 1794502 at *5 (S.D.N.Y. August 10, 2004);
Kerusa Co. v. W1 OZ/515 Real Estate Ltd. P'shz'p, 2004 WL 1048239 at *3 (S.D.N.Y. May 7,
2004); see also 1n re Tucson Estates, Inc., 912 F.2d 1162, 1167 (9th Cir. 1990). Here, each of
the applicable factors either is neutral or favors abstention
1. Efficient Administration of the Bankrup_tcy Estate
Allowing the state court to adjudicate this proceeding will facilitate efficient
resolution of the bankrupt estate by not further increasing the number of actions that court must
resolve. Because the resolution of this case will not affect the amount of property available to the
estate for distribution, there is no reason to add this case to that court's burden See Kerusa, 2004
WL 1048239 at *4 (noting that plaintiffs, by attempting to sue a third party directly, took steps so
that the litigation did not affect the bankrupt estate). Further, the action should not be
consolidated with the massive multi-district litigation in the Texas courts because deposition

discovery--of historic proportions--in that litigation is already well underway; so there will be no

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increase in efficiency by transferring this case to Texas. Thus, the first factor points strongly for
abstention

2. The Extent to Which State Law Dominates

As in both Kerusa and Digital Satellite, the action is governed entirely by state
law. The action, based on New York law, involves primarily New York plaintiffs bringing suit
arising out of a New York-based transaction State law issues do not merely predominate, they
are the only issues in the case. See Kerusa, 2004 WL 1048239 at *5 (“[T]he fundamental fact
here is that the issues in this litigation exclusively concern state law, and do not implicate any
question of bankruptcy law or other matters of uniquely federal expertise”); see also In re
Fea’eral-Mogul, 282 B.R. at 315 (abstention appropriate in part because state law predominates);
In the matter of Olz'ver Stores, Inc., 107 B.R. 40, 43 (Bankr. N.J. 1989) (“Where a civil procedure
sounds in state law and bears limited connection to the debtor’s bankruptcy case, abstention is
particularly compelling.”).

3. Difficultv of Unsettled Nature of Applicable State Law

This case presents difficult issues under New York's fraudulent transfer statute,
N.Y. Debtor & Creditor L §§ 273 et seq. ln addition, to resolve this case the Court must
determine the nature and extent of Citibank's duties to the Plaintiff Trusts due to its role as the
directing party of the Trusts, a question that has not been fleshed out by New York courts. ln
these circumstances abstention is particularly compelling See Port Aulhorily of New York and
New Jersey v. CCI-Bowers Co., 1992 WL 164441 (D. N. J. 1992) (relying on unsettled nature of

state law claims in abstaining from exercising "related to" jurisdiction).

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4. Comitv With State Courts

This factor overlaps with the preceding two. Principles of comity call for
abstention even if questions of law are not difficult or unsettled when, as here, all claims are
based on state law. Kerusa, 2004 WL 1048239 at *5 (noting that even if there are no unsettled or
difficult questions, the fact that the matter concerns exclusively state law suggests abstention is
appropriate); Digital Satellite 2004 WL 17945 02 at *6 (same). As the court noted in Drexel
Burnham Lambert Group, lnc. v. Vl'gilant lns. Co., 130 B.R. 405, 408 (Bankr. S.D.N.Y. 1991)
(quoting Ml`dlantz`c Nat’l Bank/Cl`tizens v. Comtek Eleclronics, Inc., 23 B.R. 449, 451 (Bankr.
S.D.N.;Y. 1982): "This isa state law action and a state court is better able to respond to a suit
involving state law."

5. Lack of Connection to the Bankruptcv

This case at most has a tenuous relation to Enron's bankruptcy Neither Enron nor
its former officers or directors are parties to this action; the only possible connection to the
bankrupt estate is that Citibank claims it M have an indemnification claim against the debtor.
This Court has recently held that when the alleged relationship to bankruptcy is based purely on
potential indemnification claims, abstention is particularly appropriate ln Dz'gz`tal Satellite, the
Court stated:

The only relationship of the defendants with the bankruptcy

proceeding is the possibility that WSNet may indemnify Ferchill

and Tyson in the event that plaintiffs prevail in this action ln other

cases involving state law actions that potentially implicate claims

for indemnification courts have held that if defendants "acquire an

indemnification claim, [they] can assert it in the bankruptcy case,"
and jurisdiction should not be retained on that basis.

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Id. (citing 1n re Masterwear Corp., 241 B.R. 511, 521 (Bankr. S.D.N.Y. 1999)). Thus when the
only connection to the bankruptcy is a potential indemnification claim, the connection is riot
strong enough to warrant retaining jurisdiction

Further, any connection to the Enron bankruptcy here is significantly more remote
than the connection deemed insufficient in the Kerasa case, where the debtor and several of its
insurers were actually defendants Even there, the Kerasa court also held that remand was
appropriate, noting that "[w]hile it cannot be denied that the bankrupt debtor . . . is a significant
party to these actions, the issues in the case are remote from the bankruptcy proceedings and the
bulk of the matters in these complicated multi-party disputes have nothing to do with the
bankruptcy at all." Kerusa, 2004 WL 1048239 at 1‘6. Similarly, the controversy before the Court
in this case has nothing to do with bankruptcy law and does not belong in federal court.

6. Right to a lug Trial

Because Citibank does not actually seek to have this case heard in the bankruptcy
court where Enron's bankruptcy is pending, but instead seek transfer to the multi-district
litigation in Texas, the right to a jury trial is not implicated Plaintiffs are entitled to a jury trial
in either forum, so the sixth factor is neutral.

7. Removal Will Preiudice Plaintiffs

Finally, as in Kerusa, the involuntarily removed Plaintiffs will be prejudiced
because Citibank seeks to transfer this case to a distant forum and force Plaintiffs to be limited to
already-commenced discovery Kerusa, 2004 WL 1048239 at *6. Texas is far away from the
location of parties, witnesses and events relevant to this dispute, which is centered in New York.

Plaintiffs will be prejudiced by being forced to litigate these claims--relating to New York

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transactions and governed by New York law--in Texas, simply because Citibank is embroiled in
other disputes in another state.

Further, as noted earlier, numerous depositions have already been taken in the
MDL, and Plaintiffs have not had an opportunity to participate Even going forward, Plaintiffs
would have little ability to participate in the scheduled depositions because of the necessary
division of labor that occurs in such large-scale litigation The deposition examination time is
rigorously allocated, with almost all being taken up by counsel for the class action plaintiffs and
counsel for the trustee. See March 11, 2004 Deposition Protocol Order (#2018 in MDL 1446)
(requiring allocation of questioning time among numerous parties). Plaintiffs further will be
prejudiced by the increase in the length of time before their claims can be tried, as trials are not
scheduled to @gi_n for over two years. See March 11, 2004 Scheduling Order (#2019 in MDL
1446).

The balance of the factors thus strongly favors remand All the factors either
favor remand (six out of seven) or are neutral with respect to remand (one out of seven).

Plaintiffs' original choice of forum should be respected for the resolution of these exclusively

state-law claims.6

 

6 Other courts in litigation involving Enron-based investments have confirmed the
propriety of abstention See, e.g., Ruling on Appeal in Citigroup, Inc. et al. v. Pacific Investment
Manage)nent Co., LLC (In re Enron Corp.), 296 B.R. 505 (C.D. Cal. 2003) (affirrning
bankruptcy courts and remanding state fraud claims related to purchases of notes offered by
Enron); AUSA Life lnsurance Co. v. Citigroup, Inc., 293 B.R. 471 (N.D. IoWa 2003) (rernanding
Enron-related state securities fraud claims because "federal courts ought not to intrude on state
court proceedings").

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B. Citibank's Attempt to Misuse Bankruptcy Jurisdiction Should Not Be
Rewarded

Citibank's pattern of removing any state-court case having any relationship to
Enron, however tenuous, shows that it is attempting to use "related to" jurisdiction to avoid
litigating state law claims in the state forums chosen by Plaintiffs. In another removed action,
Citibank admitted that it is using "the bankruptcy jurisdiction provisions . . . in an attempt to get
the case to Texas" rather than out of any desire to have the New York Bankruptcy Court handling
the administration of Enron's estate address any bankruptcy-related issues. See Rett`rement
Systems ofAlal)arna,v. Merrt`ll Lynch & Co., 209 F. Supp. 2d 1257, 1268-69 (M.D. Ala. 2002)
(remanding state law claims, noting that "the fact that Defendants admit that their ultimate aim is
to have it transferred to Texas . . . underscores the remoteness of this case from the Enron
bankruptcy."). This Court should not allow Citibank to manipulate "related to" bankruptcy
jurisdiction to litigate these entirely state law claims in a federal forum -- while at the same time
attempting to avoid the bankruptcy court that is actually handling the administration of Enron's
estate. As noted by ludge Posner of the Seventh Circuit in upholding the remand of a case
removed on "related to" grounds, "[t]he use of the Bankruptcy Code to obtain a favorable forum
should not be encouraged." In re U.S. Brass Corp., 110 F.3d 1261, 1265 (7th Cir. 1997). The
same applies here.

To quote the court in Federal-Mogul, "the possibility that [Citibank is] forum
shopping is too obvious to be belabored." 282 B.R. at 316. The cardinal principle of federal
forum jurisprudence is that the plaintiffs choice of forum should ordinarily not be overturned

unless there are very good reasons for doing so. There are none here. Any potential "benefits

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from a change in forum do not, however, justify the affront to state and federal comity inherent in
the removal of solvent defendants from [an] ongoing state lawsuit[s] into a federal bankruptcy."
Id. As alleged in the Complaint, Citibank and its affiliates have a substantial presence in New
York,7 and most of the actions and events giving rise to this cause of action occurred or were felt
here. This case should be tried here, and tried in state court where it was first filed

III. This Court Must Remand This Case to State Court Pursuant to the Mandatory
Abstention Provision of 28 U.S.C. § 1334(c).

As a final basis for remand, mandatory abstention under 28 U.S.C. § 1344(0)
applies Section 1334(c)(2) provides:

Upon timely motion of a party in a proceeding based upon a State

law claim or State law cause of action, related to a case, under title

ll but not arising under title 11 or arising in a case under title ll,

with respect to which an action could not have been commenced in

a court of the United States absent jurisdiction under this section,

the district court shall abstain from hearing such proceeding if an

action is commenced, and can be timely adjudicated, in a State

forum of appropriate jurisdiction
28 U.S.C. § l334(c) (emphasis added). Plaintiffs' motion for mandatory abstention is timely, see
28 U.S.C. § 1447, and this proceeding is based entirely upon state law claims

Although some courts in this district have held that mandatory abstention is not
applicable to removed actions because once an action is removed there is no pending state case,
see, e.g., Renaissance Cosmetics, 1nc. v. Dev. Specialists, 1nc., 277 B.R. 5, 13 (S.D.N.Y. 2002),

this reasoning has been rejected by three out of the four Circuit courts that have considered the

issue and Plaintiffs submit that the Second Circuit would follow these better-reasoned decisions

 

7 To Plaintiffs' knowledge, New York is the principal place of business for both Citibank
and its parent, Citigroup. Complaint1111 43, 44.

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See Christo v. Paa'gett, 223 F.3d 1324, 1331-32 (11th Cir. 2000) (mandatory abstention applies
to removed action); In re Southmark Corp., 163 F.3d 925, 929 (5th Cir. 1999) (rejecting "out of
hand" the "assertion that statutory abstention does not apply to cases removed to federal court on
the basis of bankruptcy jurisdiction" and noting that l'only a handful of bankruptcy court opinions
support it."); Robinson v. Michigan Consol. Gas Co. 1nc., 918 F.2d 579, 584 n. 3 (6th Cir. 1990)
(same). But see In re Lazar, 237 F.3d 967, 981-82 (9th Cir. 2001) (mandatory abstention not
applicable to removed action). Plaintiffs respectfully submit that decisions like Renaissance
Cosmetics are out of keeping with the general consensus of the Courts of Appeal that the
mandatory abstention provision applies to removed cases 7and request that the Court abstain from
hearing this action because "[it] . . . can be timely adjudicated in a State forum of appropriate
jurisdiction" In re Gober, 100 F.3d 1195, 1206 (5th Cir. 1996).

lf this Court concludes, consistent with the three cited Courts of Appeal, that
mandatory abstention applies to removed actions, it must remand this action lt is indisputable
that timely adjudication can and will occur in New York state court and Section 1334(0)(2)
establishes a legal presumption to that effect. See In re Baldwin Park Inn Associates, 144 B.R.
475, 481 (C.D. Cal. 1992). Plaintiffs selected the state forum to facilitate swift resolution of this
matter, filed their Complaint on August 23, 2004, and effected service on Citibank by August 24,
2004, Citibank's removal and Texas transfer strategy is simply designed to slow it down

The mandatory abstention statute, 28 U.S.C. § 1334(0), requires remand of this

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Conclusion
For the reasons stated above, Plaintiffs respectfully ask the Court to remand this action to

the Supreme Court of New York, and to permit Plaintiffs to proceed in their chosen forum.

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